              19-22834-rdd            Doc 1       Filed 04/19/19            Entered 04/19/19 13:56:48                   Main Document
                                                                           Pg 1 of 46
Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                152 Broadway Haverstraw NY LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  159 Broadway
                                  Haverstraw, NY 10927
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Rockland                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    152 Broadway Haverstraw NY LLC                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 32

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




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Debtor   152 Broadway Haverstraw NY LLC                                                            Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    152 Broadway Haverstraw NY LLC                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 19, 2019
                                                  MM / DD / YYYY

                                 /s/ Blue Beverage Group Inc, by Joseph                                   Blue Beverage Group Inc, by Joseph
                             X   Goldberger                                                               Goldberger
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Debtor's Sole Member




18. Signature of attorney    X   /s/ Mark Frankel                                                          Date April 19, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Mark Frankel
                                 Printed name

                                 Backenroth Frankel & Krinsky, LLP
                                 Firm name

                                 800 Thrid Avenue
                                 New York, NY 10022
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 593-1100                Email address


                                 1989 NY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         152 Broadway Haverstraw NY LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 19, 2019                          X /s/ Blue Beverage Group Inc, by Joseph Goldberger
                                                                       Signature of individual signing on behalf of debtor

                                                                       Blue Beverage Group Inc, by Joseph Goldberger
                                                                       Printed name

                                                                       Debtor's Sole Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name 152 Broadway Haverstraw NY LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                     Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Alan Feinsilber, CPA                                                                                                                                                     $41,767.00
 11 Deerhill Ln
 Scarsdale, NY 10583
 Barry R. Feerst and                                                                                                                                                      $58,000.00
 Assoc
 194 S 8Th St
 Brooklyn, NY 11211
 Be'er Yitzchak                                                                                                                                                           $50,000.00
 c/o Sender
 Fleischmann
 119 Rutledge St
 Brooklyn, NY 11211
 Broadway Equity                                                 Warehouse and       Unliquidated                $6,000,000.00            $11,000,000.00                $520,858.00
 Holding                                                         office buildings at Disputed
 c/o Robinson Brog                                               152 Broadway,
 et al.                                                          Haverstraw, NY
 875 3rd Ave
 New York, NY 10022
 Carlo Minuto                                                                           Disputed                                                                          $35,239.00
 Carting Company
 20 Snake Hill Rd,
 West Nyack, NY
 10994
 Corner Hardware                                                                                                                                                        $170,000.00
 2266 Nostrand Ave
 Brooklyn, NY 11210
 Del Forte USA                                                                          Disputed                                                                        $500,000.00
 c/o Goetz Fitzpatrick
 One Penn Plaza
 Suite 3100
 New York, NY 10019
 European Builders                                                                                                                                                      $450,000.00
 119 Lorimer St
 Brooklyn, NY 11206
 Gottliebs Insurance                                                                                                                                                    $161,950.00
 66 Route 59 200
 Monsey, NY 10952


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    152 Broadway Haverstraw NY LLC                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Jacob Gross                                                                                                                                                            $180,000.00
 6 Juliana Place
 Brooklyn, NY 11249
 Jeno Gutman                                                                                                                                                          $4,370,097.00
 479 Bedford Ave
 Brooklyn, NY 11211
 Joint Regional                                                                         Disputed                                                                        $233,941.00
 Sewage Board
 20 Ecology Rd
 West Haverstraw,
 NY 10993
 Jonothan Steiff,                                                                                                                                                         $43,550.00
 CPA
 6 Melnick Dr.
 Monsey, NY 10952
 Kevin McBride                                                                          Unliquidated                                                                    $142,974.00
 741 Honey Farm Rd
 Lititz, PA 17543
 MFT                                                                                                                                                                  $1,765,500.00
 1667 Bedford Ave
 Brooklyn, NY 11211
 Moshe Follman                                                                          Disputed                                                                        $100,310.00
 c/o Leeds Brown
 Law P.C.
 One Old Country Rd
 Carle Place, NY
 11514
 Ryvkie Goldberger                                                                                                                                                    $6,098,000.00
 479 Bedford Ave
 Brooklyn, NY 11219
 Thruway Consulting                                                                                                                                                       $55,300.00
 LLC
 7 Patricia Ln,
 Spring Valley, NY
 10977
 Toby Weinberger                                                                                                                                                      $1,615,950.00
 669 Bedford Ave
 Brooklyn, NY 11211
 United Water aka                                                                       Disputed                                                                          $51,274.00
 Suez Water
 461 From Road
 Paramus, NJ 07652




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Fill in this information to identify the case:

 Debtor name            152 Broadway Haverstraw NY LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $       11,000,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                269.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       11,000,269.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       11,520,858.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            35,197.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       16,336,912.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         27,892,967.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         152 Broadway Haverstraw NY LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Provident Bank                                          Checking                        2537                                       $269.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                        $269.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         152 Broadway Haverstraw NY LLC                                                 Case number (If known)
                Name




 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and           Net book value of      Valuation method used   Current value of
           property                                       extent of            debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest    (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Warehouse and
                     office buildings at
                     152 Broadway,
                     Haverstraw, NY                       Fee simple                $6,600,000.00     Appraisal                     $11,000,000.00




 56.       Total of Part 9.                                                                                                       $11,000,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.       Has any of the property listed in Part 9 been appraised by a professional within the last year?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 2
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 Debtor         152 Broadway Haverstraw NY LLC                                               Case number (If known)
                Name


               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                            Current value of
                                                                                                                            debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

            Claim against Broadway Equity Holding                                                                                       Unknown
            Nature of claim
            Amount requested                                         $5,000,000.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                              $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 3
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                                                                                          Pg 12 of 46
 Debtor          152 Broadway Haverstraw NY LLC                                                                      Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $269.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $11,000,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                   $269.00        + 91b.           $11,000,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $11,000,269.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 4
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           19-22834-rdd                     Doc 1       Filed 04/19/19             Entered 04/19/19 13:56:48                    Main Document
                                                                                  Pg 13 of 46
 Fill in this information to identify the case:

 Debtor name         152 Broadway Haverstraw NY LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Broadway Equity Holding                        Describe debtor's property that is subject to a lien               $6,000,000.00           $11,000,000.00
       Creditor's Name                                Warehouse and office buildings at 152
       c/o Robinson Brog et al.                       Broadway, Haverstraw, NY
       875 3rd Ave
       New York, NY 10022
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       1. Sterling National Bank
       2. SBA
       3. Broadway Equity
       Holding

 2.2   SBA                                            Describe debtor's property that is subject to a lien               $2,493,000.00           $11,000,000.00
       Creditor's Name                                Warehouse and office buildings at 152
       2120 River Front Drive                         Broadway, Haverstraw, NY
       Suite 100
       Little Rock, AR 72201
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       9/17/2009                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5508

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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                                                                                  Pg 14 of 46
 Debtor       152 Broadway Haverstraw NY LLC                                                           Case number (if know)
              Name

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.1

 2.3    Sterling National Bank                        Describe debtor's property that is subject to a lien                 $3,027,858.00       $11,000,000.00
        Creditor's Name                               Warehouse and office buildings at 152
        400 Rella Blvd                                Broadway, Haverstraw, NY
        11th Floor
        Suffern, NY 10901
        Creditor's mailing address                    Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        0290
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.1

                                                                                                                               $11,520,858.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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                                                                                     Pg 15 of 46
 Fill in this information to identify the case:

 Debtor name         152 Broadway Haverstraw NY LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $4,838.00         $1,560.00
           Internal Revenue Service                                  Check all that apply.
           110 W 44th St                                                Contingent
           New York, NY 10036                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $30,359.00         $30,359.00
           New York State Dept Taxation                              Check all that apply.
           POB 5300                                                     Contingent
           Albany, NY 12205                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 8
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 Debtor       152 Broadway Haverstraw NY LLC                                                          Case number (if known)
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $41,767.00
          Alan Feinsilber, CPA                                                  Contingent
          11 Deerhill Ln                                                        Unliquidated
          Scarsdale, NY 10583                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,115.00
          All Over Express                                                      Contingent
          199 Lee Ave Ste 142,                                                  Unliquidated
          Brooklyn, NY 11211                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,660.00
          Avrom R. Vann, PC                                                     Contingent
          420 Lexington Ave Rm 2400                                             Unliquidated
          New York, NY 10170                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $58,000.00
          Barry R. Feerst and Assoc                                             Contingent
          194 S 8Th St                                                          Unliquidated
          Brooklyn, NY 11211                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Be'er Yitzchak                                                        Contingent
          c/o Sender Fleischmann                                                Unliquidated
          119 Rutledge St                                                       Disputed
          Brooklyn, NY 11211
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,239.00
          Carlo Minuto Carting Company                                          Contingent
          20 Snake Hill Rd,                                                     Unliquidated
          West Nyack, NY 10994
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,000.00
          Cohen LaBarbera & Landrigen                                           Contingent
          40 Matthews St                                                        Unliquidated
          Goshen, NY 10924                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 8
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 Debtor       152 Broadway Haverstraw NY LLC                                                          Case number (if known)
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $170,000.00
          Corner Hardware                                                       Contingent
          2266 Nostrand Ave                                                     Unliquidated
          Brooklyn, NY 11210                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $500,000.00
          Del Forte USA                                                         Contingent
          c/o Goetz Fitzpatrick                                                 Unliquidated
          One Penn Plaza Suite 3100
                                                                                Disputed
          New York, NY 10019
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,800.00
          Domestic Garage Doors                                                 Contingent
          24 Washington Avenue                                                  Unliquidated
          Spring Valley, NY 10977                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,500.00
          E-Z Payroll, Inc                                                      Contingent
          20 Robert Pitt Dr                                                     Unliquidated
          Monsey, NY 10952                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $450,000.00
          European Builders                                                     Contingent
          119 Lorimer St                                                        Unliquidated
          Brooklyn, NY 11206                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,250.00
          Fabulous Paper                                                        Contingent
          143 Route 59                                                          Unliquidated
          Hillburn, NY 10931                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $358.00
          Fine Paper Merchants, Inc                                             Contingent
          170 CLINTON                                                           Unliquidated
          Spring Valley, NY 10977                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 8
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 Debtor       152 Broadway Haverstraw NY LLC                                                          Case number (if known)
              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Five Star Packaging                                                   Contingent
          129 Penn St                                                           Unliquidated
          Brooklyn, NY 11211                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,371.00
          General Oil Equipment, Inc.                                           Contingent
          c/o Michael Wild, PLLC                                                Unliquidated
          4476 Main St. Ste 120
                                                                                Disputed
          Buffalo, NY 14226
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,371.00
          General Oil Equipment, Inc.                                           Contingent
          c/o Michael Wild, PLLC                                                Unliquidated
          4476 Main St. Ste 120
                                                                                Disputed
          Buffalo, NY 14226
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,500.00
          Go Green Logistics                                                    Contingent
          2 Ashlawn Ct                                                          Unliquidated
          Spring Valley, NY 10977                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,600.00
          Go Green Pest Control                                                 Contingent
          1245 S. Aldrich,                                                      Unliquidated
          Andover, KS 67002-2000                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $161,950.00
          Gottliebs Insurance                                                   Contingent
          66 Route 59 200                                                       Unliquidated
          Monsey, NY 10952                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,828.00
          J.S. Security:                                                        Contingent
          38 Ellish Pkwy                                                        Unliquidated
          Spring Valley, NY 10977                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 8
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 Debtor       152 Broadway Haverstraw NY LLC                                                          Case number (if known)
              Name

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $180,000.00
          Jacob Gross                                                           Contingent
          6 Juliana Place                                                       Unliquidated
          Brooklyn, NY 11249                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $4,370,097.00
          Jeno Gutman                                                           Contingent
          479 Bedford Ave                                                       Unliquidated
          Brooklyn, NY 11211                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $233,941.00
          Joint Regional Sewage Board                                           Contingent
          20 Ecology Rd                                                         Unliquidated
          West Haverstraw, NY 10993
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $43,550.00
          Jonothan Steiff, CPA                                                  Contingent
          6 Melnick Dr.                                                         Unliquidated
          Monsey, NY 10952                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $142,974.00
          Kevin McBride                                                         Contingent
          741 Honey Farm Rd                                                     Unliquidated
          Lititz, PA 17543
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,765,500.00
          MFT                                                                   Contingent
          1667 Bedford Ave                                                      Unliquidated
          Brooklyn, NY 11211                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,310.00
          Moshe Follman                                                         Contingent
          c/o Leeds Brown Law P.C.                                              Unliquidated
          One Old Country Rd
                                                                                Disputed
          Carle Place, NY 11514
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 5 of 8
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 Debtor       152 Broadway Haverstraw NY LLC                                                          Case number (if known)
              Name

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $825.00
          Nissan Motor Acceptance Corp                                          Contingent
          1235 E Tremont Ave,                                                   Unliquidated
          Bronx, NY 10460                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Oriska Insurance Company                                              Contingent
          c/o Burns Leighton                                                    Unliquidated
          185 Genesse St Suite 1401
                                                                                Disputed
          Utica, NY 13501
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,340.00
          Prime Packaging Corp.                                                 Contingent
          1290 Metropolitan Ave                                                 Unliquidated
          Brooklyn, NY 11237                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Publlc Sewer Service                                                  Contingent
          190 Main Avenue                                                       Unliquidated
          Wallington, NJ 07057
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,450.00
          Rutledge Street Mini Market                                           Contingent
          18 Rutledge St                                                        Unliquidated
          Brooklyn, NY 11211                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $6,098,000.00
          Ryvkie Goldberger                                                     Contingent
          479 Bedford Ave                                                       Unliquidated
          Brooklyn, NY 11219                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $771.00
          Telebroad                                                             Contingent
          452 Broadway                                                          Unliquidated
          Brooklyn, NY 11211                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 6 of 8
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 Debtor       152 Broadway Haverstraw NY LLC                                                          Case number (if known)
              Name

 3.36      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $55,300.00
           Thruway Consulting LLC                                               Contingent
           7 Patricia Ln,                                                       Unliquidated
           Spring Valley, NY 10977                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.37      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.        $1,615,950.00
           Toby Weinberger                                                      Contingent
           669 Bedford Ave                                                      Unliquidated
           Brooklyn, NY 11211                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.38      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $51,274.00
           United Water aka Suez Water                                          Contingent
           461 From Road                                                        Unliquidated
           Paramus, NJ 07652
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.39      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $500.00
           VIiiage Of Haverstraw                                                Contingent
           40 New Main St,                                                      Unliquidated
           Haverstraw, NY 10927                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.40      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $3,126.00
           Vocatech                                                             Contingent
           5314 18th Avenue                                                     Unliquidated
           Brooklyn, NY 11204                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.41      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $4,695.00
           White Wing Dist. Inc.                                                Contingent
           525 Midland Ave #2                                                   Unliquidated
           Garfield, NJ 07026                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       Joel Stuttman
           44 South Broadway Ste 402                                                                  Line     3.29
           White Plains, NY 10601
                                                                                                             Not listed. Explain



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 7 of 8
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 Debtor       152 Broadway Haverstraw NY LLC                                                      Case number (if known)
              Name


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                    35,197.00
 5b. Total claims from Part 2                                                                       5b.   +   $                16,336,912.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                   16,372,109.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 8 of 8
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 Fill in this information to identify the case:

 Debtor name         152 Broadway Haverstraw NY LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         152 Broadway Haverstraw NY LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Blue Beverage                                                                       Broadway Equity                    D   2.1
             Group LLC                                                                           Holding                            E/F
                                                                                                                                    G




    2.2      Blue Beverage                                                                       SBA                                D   2.2
             Group LLC                                                                                                              E/F
                                                                                                                                    G




    2.3      Blue Beverage                                                                       SBA                                D   2.2
             Group LLC                                                                                                              E/F
                                                                                                                                    G




    2.4      Blue Beverage                                                                       All Over Express                   D
             LLC                                                                                                                    E/F       3.2
                                                                                                                                    G




    2.5      Blue Beverage                                                                       Avrom R. Vann, PC                  D
             LLC                                                                                                                    E/F       3.3
                                                                                                                                    G




Official Form 206H                                                        Schedule H: Your Codebtors                                          Page 1 of 6
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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      Blue Beverage                                                                    Barry R. Feerst and           D
             LLC                                                                              Assoc                         E/F       3.4
                                                                                                                            G




    2.7      Blue Beverage                                                                    Be'er Yitzchak                D
             LLC                                                                                                            E/F       3.5
                                                                                                                            G




    2.8      Blue Beverage                                                                    Carlo Minuto Carting          D
             LLC                                                                              Company                       E/F       3.6
                                                                                                                            G




    2.9      Blue Beverage                                                                    Cohen LaBarbera &             D
             LLC                                                                              Landrigen                     E/F       3.7
                                                                                                                            G




    2.10     Blue Beverage                                                                    Corner Hardware               D
             LLC                                                                                                            E/F       3.8
                                                                                                                            G




    2.11     Blue Beverage                                                                    Del Forte USA                 D
             LLC                                                                                                            E/F       3.9
                                                                                                                            G




    2.12     Blue Beverage                                                                    Domestic Garage               D
             LLC                                                                              Doors                         E/F       3.10
                                                                                                                            G




    2.13     Blue Beverage                                                                    E-Z Payroll, Inc              D
             LLC                                                                                                            E/F       3.11
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                                  Page 2 of 6
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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.14     Blue Beverage                                                                    European Builders             D
             LLC                                                                                                            E/F       3.12
                                                                                                                            G




    2.15     Blue Beverage                                                                    Fabulous Paper                D
             LLC                                                                                                            E/F       3.13
                                                                                                                            G




    2.16     Blue Beverage                                                                    Fine Paper                    D
             LLC                                                                              Merchants, Inc                E/F       3.14
                                                                                                                            G




    2.17     Blue Beverage                                                                    Five Star Packaging           D
             LLC                                                                                                            E/F       3.15
                                                                                                                            G




    2.18     Blue Beverage                                                                    Go Green Logistics            D
             LLC                                                                                                            E/F       3.18
                                                                                                                            G




    2.19     Blue Beverage                                                                    Go Green Pest                 D
             LLC                                                                              Control                       E/F       3.19
                                                                                                                            G




    2.20     Blue Beverage                                                                    Gottliebs Insurance           D
             LLC                                                                                                            E/F       3.20
                                                                                                                            G




    2.21     Blue Beverage                                                                    Internal Revenue              D
             LLC                                                                              Service                       E/F       2.1
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                                  Page 3 of 6
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 Debtor       152 Broadway Haverstraw NY LLC                                             Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.22     Blue Beverage                                                                    J.S. Security:                D
             LLC                                                                                                            E/F       3.21
                                                                                                                            G




    2.23     Blue Beverage                                                                    Jacob Gross                   D
             LLC                                                                                                            E/F       3.22
                                                                                                                            G




    2.24     Blue Beverage                                                                    Jeno Gutman                   D
             LLC                                                                                                            E/F       3.23
                                                                                                                            G




    2.25     Blue Beverage                                                                    Joint Regional                D
             LLC                                                                              Sewage Board                  E/F       3.24
                                                                                                                            G




    2.26     Blue Beverage                                                                    Jonothan Steiff, CPA          D
             LLC                                                                                                            E/F       3.25
                                                                                                                            G




    2.27     Blue Beverage                                                                    MFT                           D
             LLC                                                                                                            E/F       3.27
                                                                                                                            G




    2.28     Blue Beverage                                                                    New York State Dept           D
             LLC                                                                              Taxation                      E/F       2.2
                                                                                                                            G




    2.29     Blue Beverage                                                                    Nissan Motor                  D
             LLC                                                                              Acceptance Corp               E/F       3.29
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                                  Page 4 of 6
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 Debtor       152 Broadway Haverstraw NY LLC                                             Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.30     Blue Beverage                                                                    Prime Packaging               D
             LLC                                                                              Corp.                         E/F       3.31
                                                                                                                            G




    2.31     Blue Beverage                                                                    Publlc Sewer Service          D
             LLC                                                                                                            E/F       3.32
                                                                                                                            G




    2.32     Blue Beverage                                                                    Rutledge Street Mini          D
             LLC                                                                              Market                        E/F       3.33
                                                                                                                            G




    2.33     Blue Beverage                                                                    Ryvkie Goldberger             D
             LLC                                                                                                            E/F       3.34
                                                                                                                            G




    2.34     Blue Beverage                                                                    Telebroad                     D
             LLC                                                                                                            E/F       3.35
                                                                                                                            G




    2.35     Blue Beverage                                                                    Thruway Consulting            D
             LLC                                                                              LLC                           E/F       3.36
                                                                                                                            G




    2.36     Blue Beverage                                                                    Toby Weinberger               D
             LLC                                                                                                            E/F       3.37
                                                                                                                            G




    2.37     Blue Beverage                                                                    United Water aka              D
             LLC                                                                              Suez Water                    E/F       3.38
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                                  Page 5 of 6
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 Debtor       152 Broadway Haverstraw NY LLC                                             Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.38     Blue Beverage                                                                    VIiiage Of Haverstraw         D
             LLC                                                                                                            E/F       3.39
                                                                                                                            G




    2.39     Blue Beverage                                                                    Vocatech                      D
             LLC                                                                                                            E/F       3.40
                                                                                                                            G




    2.40     Blue Beverage                                                                    White Wing Dist. Inc.         D
             LLC                                                                                                            E/F       3.41
                                                                                                                            G




    2.41     Joseph and                                                                       SBA                           D   2.2
             Ryvkie                                                                                                         E/F
             Goldberger
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                                  Page 6 of 6
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 Fill in this information to identify the case:

 Debtor name         152 Broadway Haverstraw NY LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       152 Broadway Haverstraw NY LLC                                                               Case number (if known)



           None

       Creditor's name and address                              Describe of the Property                                       Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case               Court or agency's name and                Status of case
               Case number                                                                   address
       7.1.    Sterling National Bank v                         Foreclosure                  Rockland Supreme Court                       Pending
               Debtor                                                                                                                     On appeal
               0035353/2017
                                                                                                                                          Concluded

       7.2.    Broadway Equity Holding V                        Foreclosure                  United States Bankruptcy                     Pending
               Debtor                                                                        Court                                        On appeal
               Adv. Proc. 17-8215                                                            300 Quarropas St
                                                                                                                                          Concluded
                                                                                             White Plains, NY 10601


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                             Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss              Value of property
       how the loss occurred                                                                                                                                       lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2
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 Debtor        152 Broadway Haverstraw NY LLC                                                            Case number (if known)



 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.1.                                                                                                                   1/29/19
                                                                                                                               $12,500
                                                                                                                               3/1/19
                                                                                                                               $75,000
                                                                                                                               Payment for
                                                                                                                               both Blue
                                                                                                                               Beverage
                                                                                                                               Group LLC
                                                                                                                               and
                Backenroth Frankel & Krinsky                                                                                   152
                800 Third Avenue                                                                                               Broadway
                11th Floor                                                                                                     Haverstraw
                New York, NY 10022                                                                                             NY LLC               $87,500.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer          Total amount or
               Address                                          payments received or debts paid in exchange              was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
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 Debtor      152 Broadway Haverstraw NY LLC                                                             Case number (if known)



    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was              Last balance
               Address                                          account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own




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 Debtor      152 Broadway Haverstraw NY LLC                                                             Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To



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       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Jonathan Steiff
                    6 Melnick Dr.
                    Monsey, NY 10952

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Debtor
                    152 Broadway
                    Haverstraw, NY 10927

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Joseph Goldberger                              479 Bedford Ave                                     Member of Blue Beverage
                                                      Brooklyn, NY 11249                                  Group, LLC, Debtor's Sole
                                                                                                          member
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Joseph Mencer                                  669 Bedford Ave                                     Member of Blue Beverage
                                                      Brooklyn, NY 11211                                  Group, LLC, Debtor's Sole
                                                                                                          member
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Blue Beverage Group, LLC                                                                           Debtor's Sole Member




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.
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30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Blue Beverage Group LLC                                                                                    EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         April 19, 2019

 /s/ Blue Beverage Group Inc, by Joseph                                 Blue Beverage Group Inc, by Joseph
 Goldberger                                                             Goldberger
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Debtor's Sole Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
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                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 13,602.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                 13,602.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Fee is a retainer only. The Debtor is responsible for additional fees after retainer has been exhausted.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 19, 2019                                                              /s/ Mark Frankel
     Date                                                                        Mark Frankel
                                                                                 Signature of Attorney
                                                                                 Backenroth Frankel & Krinsky, LLP
                                                                                 800 Thrid Avenue
                                                                                 New York, NY 10022
                                                                                 (212) 593-1100 Fax: (212) 644-0544
                                                                                 Name of law firm




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                                                                     Southern District of New York
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                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Blue Beverage Group, LLC                                                                                                        Sole Member



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Debtor's Sole Member of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



 Date April 19, 2019                                                         Signature /s/ Blue Beverage Group Inc, by Joseph Goldberger
                                                                                            Blue Beverage Group Inc, by Joseph Goldberger

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               VERIFICATION OF CREDITOR MATRIX


I, the Debtor's Sole Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




 Date:       April 19, 2019                                             /s/ Blue Beverage Group Inc, by Joseph Goldberger
                                                                        Blue Beverage Group Inc, by Joseph Goldberger/Debtor's Sole
                                                                        Member
                                                                        Signer/Title




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                           Internal Revenue Service
                           c/o US Attorney Claims Unit
                           One Saint Andrews Plaza Rm 417
                           New York, NY 10007


                           Office of The United States Trustee
                           U.S. Federal Office Building
                           201 Varick Street
                           Suite 1006
                           New York, NY 10014


                           United States of America
                           c/o U.S. Attorney
                           86 Chambers Street
                           New York, NY 10007


                           NYS Dept of Tax & Finance
                           Bankruptcy Unit
                           PO Box 5300
                           Albany, NY 12205


                           State of New York
                           Attorney General's Office
                           120 Broadway
                           New York, NY 10271


                           City of New York
                           NYC Law Department
                           100 Church St
                           New York, NY 10007


                           NYC Department of Finance
                           66 John Street
                           New York, NY 10038


                           Backenroth Frankel & Krinsky
                           800 Third Avenue
                           11th Floor
                           New York, NY 10022


                           Alan Feinsilber, CPA
                           11 Deerhill Ln
                           Scarsdale, NY 10583
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                       All Over Express
                       199 Lee Ave Ste 142,
                       Brooklyn, NY 11211


                       Avrom R. Vann, PC
                       420 Lexington Ave Rm 2400
                       New York, NY 10170


                       Barry R. Feerst and Assoc
                       194 S 8Th St
                       Brooklyn, NY 11211


                       Be'er Yitzchak
                       c/o Sender Fleischmann
                       119 Rutledge St
                       Brooklyn, NY 11211


                       Blue Beverage Group LLC



                       Broadway Equity Holding
                       c/o Robinson Brog et al.
                       875 3rd Ave
                       New York, NY 10022


                       Carlo Minuto Carting Company
                       20 Snake Hill Rd,
                       West Nyack, NY 10994


                       Cohen LaBarbera & Landrigen
                       40 Matthews St
                       Goshen, NY 10924


                       Corner Hardware
                       2266 Nostrand Ave
                       Brooklyn, NY 11210


                       Del   Forte USA
                       c/o   Goetz Fitzpatrick
                       One   Penn Plaza Suite 3100
                       New   York, NY 10019


                       Domestic Garage Doors
                        24 Washington Avenue
                       Spring Valley, NY 10977
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                       E-Z Payroll, Inc
                       20 Robert Pitt Dr
                       Monsey, NY 10952


                       European Builders
                       119 Lorimer St
                       Brooklyn, NY 11206


                       Fabulous Paper
                       143 Route 59
                       Hillburn, NY 10931


                       Fine Paper Merchants, Inc
                       170 CLINTON
                       Spring Valley, NY 10977


                       Five Star Packaging
                       129 Penn St
                       Brooklyn, NY 11211


                       General Oil Equipment, Inc.
                       c/o Michael Wild, PLLC
                       4476 Main St. Ste 120
                       Buffalo, NY 14226


                       Go Green Logistics
                       2 Ashlawn Ct
                       Spring Valley, NY 10977


                       Go Green Pest Control
                       1245 S. Aldrich,
                       Andover, KS 67002-2000


                       Gottliebs Insurance
                       66 Route 59 200
                       Monsey, NY 10952


                       Internal Revenue Service
                       110 W 44th St
                       New York, NY 10036


                       J.S. Security:
                       38 Ellish Pkwy
                       Spring Valley, NY 10977
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                       Jacob Gross
                       6 Juliana Place
                       Brooklyn, NY 11249


                       Jeno Gutman
                       479 Bedford Ave
                       Brooklyn, NY 11211


                       Joel Stuttman
                       44 South Broadway Ste 402
                       White Plains, NY 10601


                       Joint Regional Sewage Board
                       20 Ecology Rd
                       West Haverstraw, NY 10993


                       Jonothan Steiff, CPA
                       6 Melnick Dr.
                       Monsey, NY 10952


                       Joseph and Ryvkie Goldberger



                       Kevin McBride
                       741 Honey Farm Rd
                       Lititz, PA 17543


                       MFT
                       1667 Bedford Ave
                       Brooklyn, NY 11211


                       Moshe Follman
                       c/o Leeds Brown Law P.C.
                       One Old Country Rd
                       Carle Place, NY 11514


                       New York State Dept Taxation
                       POB 5300
                       Albany, NY 12205


                       Nissan Motor Acceptance Corp
                       1235 E Tremont Ave,
                       Bronx, NY 10460
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                       Oriska Insurance Company
                       c/o Burns Leighton
                       185 Genesse St Suite 1401
                       Utica, NY 13501


                       Prime Packaging Corp.
                       1290 Metropolitan Ave
                       Brooklyn, NY 11237


                       Publlc Sewer Service
                       190 Main Avenue
                       Wallington, NJ 07057


                       Rutledge Street Mini Market
                       18 Rutledge St
                       Brooklyn, NY 11211


                       Ryvkie Goldberger
                       479 Bedford Ave
                       Brooklyn, NY 11219


                       SBA
                       2120 River Front Drive
                       Suite 100
                       Little Rock, AR 72201


                       Sterling National Bank
                       400 Rella Blvd
                       11th Floor
                       Suffern, NY 10901


                       Telebroad
                       452 Broadway
                       Brooklyn, NY 11211


                       Thruway Consulting LLC
                       7 Patricia Ln,
                       Spring Valley, NY 10977


                       Toby Weinberger
                       669 Bedford Ave
                       Brooklyn, NY 11211
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                       United Water aka Suez Water
                       461 From Road
                       Paramus, NJ 07652


                       VIiiage Of Haverstraw
                       40 New Main St,
                       Haverstraw, NY 10927


                       Vocatech
                       5314 18th Avenue
                       Brooklyn, NY 11204


                       White Wing Dist. Inc.
                       525 Midland Ave #2
                       Garfield, NJ 07026
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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 152 Broadway Haverstraw NY LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 April 19, 2019                                                       /s/ Mark Frankel
 Date                                                                 Mark Frankel
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for 152 Broadway Haverstraw NY LLC
                                                                      Backenroth Frankel & Krinsky, LLP
                                                                      800 Thrid Avenue
                                                                      New York, NY 10022
                                                                      (212) 593-1100 Fax:(212) 644-0544




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